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 A0 245B (Rev 12/03) Judgment in a Criminal Case
            Sheet I



                                      United States District Court
                                                   SOUTHERN DISTRICT OF GEORGIA
                                                       STATESBORO DIVISION

            UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                        V.
                      Carlos Lundy                                            Case Number              CR607-00021-001

                                                                              USM Number                13300-02 1

                                                                              Ste p hen B. Taylor
                                                                              Defendant's Attorney

  THE DEFENDANT:
[X]         pleaded guilty to the lesser included offense of Count 2.
    I       pleaded nob contendere to Count(s) - which was accepted
            by the court.
            was found guilty on Count(s)_ after a plea of not guilty.

  The defendant has been convicted of the following offense:
                                                                                                                                           —1

          Title & Section           Nature of Offense                                                                               Count

        21 U.S.C. § 841(a)(1)       Distribution of a quantity of cocaine base (crack)                 June 15, 2007                   2

         The defendant is sentenced as provided in pages 2 through ofthisjudgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.
            The defendant has been found not guilty on count(s)_.
  [XI       Counts 1. 3, and 4 of the Indictment. Counts lthroug h 4 of the Superseding Indictment, and Counts 2 throu gh 5 of the Second
            Superseding Indictment are dismissed on the motion of the United States.


           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
  to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                   May 6, 2008



                                                                                   Sign     eofJudg7'

                                                                                   B. Avant Edenfield
                                                                                   United States District Judge
                                                                                   For the Southern District of Georgia
                                                                                   Name and Title of Judge


                                                                                   Date
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                       Judgment-Page 2 of 6
        Sheet 2 - lmrisonment

DEFENDANT: Carlos Lundy
CASE NUMBER: CR607-00021-001
                                                   IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 100 months.

[X]       The Court makes the following recommendations to the Bureau of Prisons:

          Designation to the facility in Coleman, Florida, is recommended. The Court also recommends that the
          defendant be afforded an opportunity to participate in substance abuse treatment while incarcerated.
          However, the Court does not intend for the defendant's sentence to be reduced because of such
          participation.

[XJ       The defendant is remanded to the custody of the United States Marshal.
[]        The defendant shall surrender to the United States Marshal for this district:

          [ ] at       [ ] a.m. [ ] p.m. on _______
          [ ] as notified by the United States Marshal.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          [ ] before 2 p.m. on ______
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.
                                                       RETURN
          I have executed this judgment as follows:




          Defendant delivered on                      ____ to
at                                                    with a certified copy of this judgment.




                                                                                          United States Marshal


                                                                               By
                                                                                      Deputy United States Marshal
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       Sheet 3 - Supervised Release

DEFENDANT: Carlos Lundy
CASE NUMBER: CR607-00021-OO1
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 5 years.

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

[]        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
          (Check, if applicable.)

[X]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon, (Check, if applicable.)

[X]       The defendant shall cooperate in the collection of DNA as directed by the probation officer, (Check, if applicable.)

[II       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer. (Check, if applicable.)

          The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;

2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days ofeach month;

3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dependents and meet other family responsibilities;

5)        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
          of the court;
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defendant's compliance
           with such notification requirement; and
 14)       Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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        Sheet 3C - Supervised Release

DEFENDANT: Carlos Lundy
CASE NUMBER: CR607-00021-OOl


                                           SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
          determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
          abuse.
2. The defendant shall provide the probation officer with access to any requested financial information. The
       defendant shall not incur new credit charges or open additional lines of credit without the approval of the
       probation officer unless the defendant is in compliance with the installment payment schedule.
          The defendant shall submit his person, residence, office, or vehicle to a search conducted by the United
          States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
          of contraband or evidence of a violation of a condition of release; failure to submit to a search may be
          grounds for revocation. The defendant shall warn any other residents that the premises may be subject to
          searches pursuant to this condition.




                                                     ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


    (Signed)                                                           -
                     Defendant                                         Date




                     U. S. Probation Officer/Designated Witness        Date
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                                           Judgment-Page 5 of 6
       Sheet 5 - Criminal Monetary Penalties

DEFENDANT: Carlos Lundy
CASE NUMBER: CR607-00021-OO1
                          CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                          Assessment                      Fine                    Restitution

 Totals:                                                           $100                $3,000

          The determination of restitution is deferred until       . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such a determination.

          The defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment colurrm below, However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid.


             Name of Payee                         Total Loss*            Restitution Ordered                    Priority or Percentage




                Totals:


          Restitution amount ordered pursuant to plea agreement

[XI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date ofjudgment, pursuant to 1 8 U S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
        to penalties for delinquency and default pursuant to 18 U.S.C. § 36 12(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the      [ ] fine        [ ] restitution.
                    The interest requirement for the    [ ] fine       [ ] restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 11OA and I 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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         Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Carlos Lundy
CASE NUMBER: CR607-00021-O01
                                                     NDhLIIJ m                        I K1 i

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of $ 100 due immediately, balance due

           [ ] not laterthan _;or
           [X] in accordance with [ ] C, [ D, [ ] E, or [XI F below; or

B [ ] Payment to begin immediately (may be combined with [ I C, [ I D, or [ I F below); or

CFI       Payment in equal - (e.g., weekly, monthly, quarterly) installments ofjover a period of_ (e.g., months or years), to commence
          - (e.g., 30 or 60 days) after the date of this judgment; or

D [ ] Payment in equal - (e.g., weekly, monthly, quarterly) installments of Lover a period of_ (e.g., months or years), to commence
         _(e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [ ] Payment during the term of supervised release will commence within          (eg., 30 or 60 days) after release from imprisonment.
         the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F [XI     Special instructions regarding the payment of criminal monetary penalties:

          While in the custody of the Bureau of Prisons, the defendant shall make payments of either quarterly
          installments of a minimum of $25 if working non-UNICOR or a minimum of 50 percent of monthly earnings
          if working UNICOR. Upon release from imprisonment and while on supervised release, the defendant shall
          make minimum monthly payments of $_150 over a period of ..Q.. months.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

   I      Joint and Several
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate:


          The defendant shall pay the cost of prosecution.

          The defendant shall pay the following court cost(s):


          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
